                      Case 1:24-cr-00153-RDM Document 1 Filed 01/10/24 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of &ROXPELD

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                       Zylas Hamilton
                                                                    )
                      DOB: XXXXXX                                   )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of                             in the
                         LQ WKH 'LVWULFW RI       &ROXPELD      , the defendant(s) violated:

            Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority,
        18 U.S.C. § 1752(a)(2) - Disorderly or disruptive conduct in a restricted building or grounds,
        40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building,
        40 U.S.C. § 5104(e)(2)(G) - Parading, demonstrating, or picketing in a Capitol Building.


         This criminal complaint is based on these facts:
  6HH DWWDFKHG VWDWHPHQW RI IDFWV




         9
         u Continued on the attached sheet.




$WWHVWHG WR E\ WKH DSSOLFDQW LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI )HG 5 &ULP 3 
E\ WHOHSKRQH
                                                                                                           2024.01.10
Date:             01/10/2024
                                                                                                           16:13:31 -05'00'
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ '&                      Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
